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 7   Indenture Relating to IMH Assets Corp., Collateralized Asset-Backed Bonds, Series 2005-7
 8                                UNITED STATES DISTRICT COURT
 9                                     DISTRICT OF NEVADA

10   DEUTSCHE BANK NATIONAL TRUST                       Case No.: 2:20-cv-02009-GMN-DJA
     COMPANY, AS INDENTURE TRUSTEE
11   UNDER THE INDENTURE RELATING TO
12   IMH ASSETS CORP., COLLATERALIZED                   STIPULATION AND ORDER TO
     ASSET-BACKED BONDS, SERIES 2005-7,                 EXTEND TIME PERIOD TO RESPOND
13                                                      TO MOTION TO DISMISS [ECF No. 15]
                           Plaintiff,
14          vs.                                         [Second Request]
15
     OLD REPUBLIC TITLE INSURANCE
16   GROUP, INC.; OLD REPUBLIC NATIONAL
     TITLE INSURANCE COMPANY; DOE
17   INDIVIDUALS I through X; and ROE
18   CORPORATIONS XI through XX, inclusive,

19                        Defendants.

20
21          Plaintiff, Deutsche Bank National Trust Company, as Indenture Trustee Under the
22   Indenture Relating to IMH Assets Corp., Collateralized Asset-Backed Bonds, Series 2005-7
23   (“Deutsche Bank”) and Defendant Old Republic National Title Insurance Company (“ORNTIC”)
24   (collectively, the “Parties”), by and through their counsel of record, hereby stipulate and agree as
25   follows:
26          1. On October 9, 2020, Deutsche Bank filed its Complaint in the Eighth Judicial District
27                Court, Case No. A-20-822776-C [ECF No. 1-1];
28



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 1          2. On October 30, 2020, ORNTIC filed a Petition for Removal to this Court [ECF No.
 2             1];
 3          3. On December 10, 2020, ORNTIC filed a Motion to Dismiss [ECF No. 15];
 4          4. Deutsche Bank’s deadline to respond to ORNTIC’s Motion to Dismiss is currently
 5             January 11, 2021 [ECF No. 21];
 6          5. Deutsche Bank’s counsel is requesting an extension until January 25, 2020, to file its
 7             response to the pending Motion to Dismiss;
 8          6. In light of the recent holidays, counsel for Deutsche Bank is requesting additional
 9             time to review and respond to the points and authorities cited to in the pending
10             Motion;
11          7. Counsel for ORNTIC does not oppose the requested extension;
12          8. This is the first request for an extension which is made in good faith and not for
13             purposes of delay.
14          IT IS SO STIPULATED.
15    DATED this 8th day of January, 2021.           DATED this 8th day of January, 2021.
16    WRIGHT, FINLAY & ZAK, LLP                      EARLY SULLIVAN WRIGHT GIZER &
17                                                   McRAE LLP
      /s/ Lindsay D. Robbins
18    Lindsay D. Robbins, Esq.                       /s/ Sophia S. Lau
      Nevada Bar No. 13474                           Sophia S. Lau, Esq.,
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20    Las Vegas, NV 89117                            8716 Spanish Ridge Avenue, Suite 105
      Attorneys for Plaintiff, Deutsche Bank         Las Vegas, Nevada 89148
21    National Trust Company, as Indenture           Attorneys for Specially-Appearing Defendant
      Trustee Under the Indenture Relating to IMH    Old Republic Title Insurance Group, Inc.
22    Assets Corp., Collateralized Asset-Backed      and Defendant Old Republic National Title
23    Bonds, Series 2005-7                           Insurance Company

24                                                   IT IS SO ORDERED.
25                                                               8 day of January, 2021
                                                     Dated this ____
26
27
28                                                   ___________________________
                                                     Gloria M. Navarro, District Judge
                                                     UNITED STATES DISTRICT COURT

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